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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                    Civil Case Number: 0:17-cv-60330-GAYLES/SELTZER
  ______________________________________
                                               :
  Stephen Dambra,                              :
                                               :
                       Plaintiff,              :
         v.                                    :
                                               :
  Specialized Loan Servicing, LLC; and DOES :
  1-10 inclusive,                              :
                                               :
                       Defendant.              :
                                               :
  ______________________________________ :
                                 STIPULATION OF DISMISSAL

         WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

  the complaint in this action, and have negotiated in good faith for that purpose; and

         WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

  person; and

         WHEREAS, the parties in the above-captioned action wish to dismiss the litigation;

         IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

  respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

  is hereby dismissed against Specialized Loan Servicing, LLC; and DOES 1-10 inclusive, with

  prejudice and without costs to any party. The Court will retain jurisdiction to enforce the terms

  of the settlement agreement.

   Stephen Dambra                                Specialized Loan Servicing, LLC

   ___/s/ Jenny DeFrancisco                      _/s/ Joseph A. Apatov

   Jenny DeFrancisco, Esq.                       Joseph A. Apatov, Esq.
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 3, 2018, a true and correct copy of the foregoing

  Stipulation of Dismissal was served electronically by the U.S. District Court for the Southern

  District of Florida Electronic Document Filing System (ECF) and that the document is available

  on the ECF system.


                                             By_/s/ Joseph A. Apatov____
                                                 Joseph A. Apatov, Esq.




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